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10

11
                                 IN THE UNITED STATES DISTRICT COURT
12
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
13
                                                      (Fresno Division)
14

15   UNITED STATES OF AMERICA,                                      )   CR-06-000247-AWI
                                                                    )
16                                               Plaintiff,         )   STIPULATION TO CONTINUE
                                                                    )   SENTENCING
17              v.                                                  )
                                                                    )   ORDER
18   GUADALUPE AGUILAR BARRON                                       )
                                                                    )
19                                         Defendant.               )   Honorable Anthony W. Ishi
                                                                    )   United States District Judge
20                                                                  )

21         Defendant Guadalupe Aguilar Barron and the government through their respective

22   counsel, Lupe Martinez and Berndt Ingo Brauer and Assistant United States Attorney

23   Kathleen Servatius, agree and stipulate that the sentencing hearing set for January 11, 2010

24   be continued to February 22, 2010 at 11:00 a.m. The requested continuance will permit the

25   parties to schedule a Safety Valve debriefing of defendant pursuant to U.S.S.G. 5C1.2 and

26   allow sufficient time for the Probation Officer to consider additional materials submitted by

     Stipulation to Continue Sentencing; Order                -1-
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 1   defendant to the Probation Officer on December 31, 2009. The Deputy Courtroom Clerk has

 2   advised that the date of February 11, 2010 at 11:00 a.m. is available on the Court’s calendar.

 3

 4   Dated: January 06, 2010

 5                                                      s/s Lupe Martinez

 6                                                      LUPE MARTINEZ
                                                        Attorney for defendant Guadalupe A. Barron
 7

 8   Dated: January 06, 2010                            s/s Kathleen Servatius

 9                                                      KATHLEEN SERVATIUS
                                                        Assistant United States Attorney
10

11
                                                     ORDER
12

13         GOOD CAUSE APPEARING,

14         IT IS ORDERED that sentencing in the above-entitled case presently set for January 11,

15   2010 be continued to February 22, 2010 at 11:00 a.m.

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17
     IT IS SO ORDERED.
18
     Dated:      January 7, 2010                          /s/ Anthony W. Ishii
19   0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE

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     Stipulation to Continue Sentencing; Order       -2-
